 Case 2:17-cv-01192-CAS-AGR Document 78 Filed 05/05/20 Page 1 of 1 Page ID #:2434



 1                                                                                  JS-6
 2
 3
 4
 5
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11   HOWARD OSIBAMOWO,                      )       NO. CV 17-1192-CAS (AGR)
                                            )
12                        Petitioner,       )
                                            )       JUDGMENT
13       v.                                 )
                                            )
14   ERIC ARNOLD, Warden,                   )
                                            )
15                        Respondent.       )
                                            )
16
17            Pursuant to the Order Accepting Findings and Recommendation of United
18   States Magistrate Judge,
19            IT IS ADJUDGED that the Petition For Writ of Habeas Corpus in this matter is
20   denied and dismissed with prejudice.
21
22   DATED:       May 5, 2020               _____
                                                      CHRISTINA A. SNYDER
23                                                   United States District Judge
24
25
26
27
28
